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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

UNITED STATES OF AMERICA,
No. 08-01780

Plaintiff, (5- 00002~-CR- W-GAF

August 28, 2007

LISA MONTGOMERY,

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Defendant.

TRANSCRIPT OF THE TESTIMONY OF
MR. ALAN EVANS

BEFORE THE HONORABLE GARY A. FENNER

UNITED STATES DISTRICT JUDGE.

APPEARANCE 8:

For the Plaintiff: Mr. Matt Whitworth
Ms. Roseann Ketchmark
Ms. Cynthia Cordes
Assistant U. S. Attorneys
400 East 9th Street
Kansas City, Mo. 64106

For the Defendant: Mr. Fred Duchardt
Duchardt & Walker
110 East 6th Street
Kearney, Missouri 64060

Mr. John O’Connor
Wagstaff & Cartmell
4740 Grand Ave.

Kansas City, Mo. 64112

 

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Mr. Dave Owen

Assistant Federal Public
Defender

818 Grand Ave.
Kansas City, Mo. 64106

ELIZABETH SHINN, BA, RPR
U. S. COURT REPORTER
400 EAST 9TH STREET, ROOM 8435
KANSAS CITY, MO. 64106

 

 

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ALAN EVANS
Direct Examination
Cross Examination

 

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Ready, Mr.

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THE COURT: Thank you. You can be seated.

Whitworth
MR. WHITWORTH: Yes.
THE COURT: And, Mr. Duchardt, are you ready?
MR. DUCHARDT: Yes.
MR. WHITWORTH: Here are our exhibits we are

going to offer. Your Honor, the United States calls Doctor

Alan Evans.

ALAN EVANS

having been sworn, testified:

DIRECT -EBXAMTNATION

BY MR. WHITWORTH:

Sir, Wovid you state your name for the court?
Alan Evans.

Where are you currently employed?

Montreal Neurclogical Institute, Research
affiliated with McGill University.

How long have you been employed there?

Almost 24 years.

What is your current title.

Professor of Neurclogy.

And what kind of work do you do at McConnell

Iouse different forms of brain imaging research

instruments M. R. I. scans and PET scans studying the

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a 1 structure and function of the human brain.
i
, 2 Q Have you essentially devoted your career to the
3 study of the human brain?
4 A Yes.
5 Q You also teach at the Montreal Neurological
6 Institute?
7 A Yes I do.
8 QO Are you a professor there?
g A Yes.
10 QO How long have you been a professor?
11 A I have been a full professor for eleven years.
12 Q Could you describe your formal education for the
13 court, please?
) 14 A - I dad undergraduate in physics and mathematics.
~ 15 Master's in medical physics. Ph.D. in biophysics.
16 Oo Do you have any specialty degrees in the field of
17 brain imaging?
18 A They're no special degrees in brain imaging.
19 Q And where did you study your undergraduate?
20 A. Liverpool University.
21 Qo From there where did you go?
22 A To Surrey University.
23 Q What did you doa?
24 A Medical physics.
25 Q From there were did you go?
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Leeds University.

What did you study?
Biophysics.

Did you get your Ph.D. there?
Yes, I did.

Was your first job with the Atomic Energy of

Canada Institute?

Yes, 1t was.
How long did you stay there?
Five years.

Then in 1984 you moved to the Montreal

Neurological Institute?

Yes.

Have you published any peer-reviewed articles?

Two hundred and 79.

And are you also a co-author of a research book on
brain?

Yes.

And are you also a journal reviewer?

Yes.

Could you explain what that is to the court?

This requires me to look over candidate articles

for publication in peer-reviewed literature, scientific
literature. And I review the papers and make scientific

comment on the legitimacy of the data, methodology and the

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result.

oO. Do you work on the National Institute of Health.

A. Yes, I have a contract right now with the N. I. H.
to study the developing child brain. This is a study that
involves six sites in the U.S. collecting data from five
hundred children. I am regularly at the N. I. H. in
Washington to discuss this project or related projects as we
integrate from these various research studies founded by the
N. I. H.

QO. What was the value of the grant you received in
connection with that?

A. It's approximately thirty five million.

Q Have you also received grants from National or the
Canadian Institute of Health Research?

A Yes, numerous grants over the years. The largest
one waS a thirty two million dollar grant for PET and

M. R. I. equipment .

Q. Have all these studies been related to the human
brain?

A Yes.

Q Are you a member of any professional
organizations? |

A ° Yes, the Organization for Human Brain Mapping.

Qa In fact, you were one of the founders of that

organization, is ‘that correct?

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A Yes.

0 Have you received any special awards of note?

A senior Scientist, C. I. H. R., Senior Scientist,
allocated in 2001.

0 Was that the first time that had been awarded?

A No, it happens periodically. And Computer World
Smithsonian Laureate. This is for activities and
establishing advanced complication techniques in the study
of the brain science.

Q Now you have prepared a C. V. which I have marked

as Government's Exhibit A, is that correct.

A. Yes.
Q Have you seen that?
A Yes.
MR. WHITWORTH: We offer Government's Exhibit A.

MR. DUCHARDT: No objection.

THE COURT: Received.

(PLAINTIFF'S EXHIBIT A WAS RECEIVED IN EVIDENCE. )
° Government's Exhibit D. is that a summary of the

highlights of that Cc. Vv.

A Yes.
MR. WHITWORTH: We offer that as well.
MR. DUCHARDT: No objection.

THE COURT: Received.

(PLAINTIFF'S EXHIBIT D WAS RECEIVED IN EVIDENCE. )

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0 Now, Doctor, have you ever testified as an expert

in court before on the human brain?

A No.

Qo Have you ever been asked to testify as an expert
before?

A No.

9 This is the first time when I contacted you, is

that correct?

A Yes.

Q Now, did you, at my request, review a report of
Defense Expert Doctor Ruben Gur dated April 3, 2007?

A Yes.

MR. WHITWORTH: Your Honor, fF have marked as
Government Exhibit C. a copy of Doctor Gur's report, we
offer that.

MR. DUCHARDT: No objection.

THE COURT: Received.

(PLAINTIFF'S EXHIBIT C WAS RECEIVED IN EVIDENCE.}
9 And then did you prepare a report in response to

Doctor Gur's report I have marked as Government's Exhibit B.

A ° Yes.
MR. WHITWORTH: We also offer that report as
well.
MR. DUCHARDT: Also no objection.

THE COURT: Received.

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(PLAINTIFF'S EXHIBIT B WAS RECEIVED IN EVIDENCE.)
Q Doctor Evans, did you review any of the scientific

iiterature referenced by Doctor Gur in his report?

A Yes.

Q in preparation to writing your report?

A Yes.

Q And did you disagree with any of Doctor Gur's

findings and. conclusions?
A Yes.

Q Do you believe Doctor Gur's findings and

conclusions regarding Lisa Montgomery are scientifically

reliable?
A No.
Q And before we get into the specifics could you

tell the court briefly what PET, what the PET scan is and
what M. R. I. imaging does?

A. M. R. I. imaging for the purposes of this report
provides quantitative analysis of brain anatomy, brain
structure. PET provides quantitative results on brain
physiology, brain function.

Q What are those two tools used to do in the
scientific worid and the medical world?

A To study normal brain, either development at one
end of age or normal age looking at normal variation in the

population and then to compare those normal results to

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specific abnormal conditions, almost always in groups, to
study the characteristic profile of that group. For
instance, Alzheimer's disease or child development, those

are two examples.

Q Can you use the M. R. I. or PET to identify brain
tumors?

A Yes.

Q ' Can you use those tools to detect epilepsy.

A In association with other methods you normally

wouldn't use.M. R. I. by itself to detect and diagnose
epilepsy but in combination with other methods, yes.

Q Are there studies being conducted through the use
of those tools to detect Alzheimer's disease?

A Nobody has been able to use M. R. I. to detect and

diagnose Alzheimer's disease in a single subject. There are

‘any research projects going on to look at the normal

anatomical profile of Alzheimer's ina population. So you
may study tens or even hundreds of Alzheimer's patients and
try and characterize the profile of Alzheimer's disease in
the population.

Q Can the PET and M. R. I. be used to diagnose
psychiatric disorders?

A Diagnose, no.

Q To detect?

A We conduct research in the psychiatric population

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in groups absolutely, that's is being done in a number of
research. But to make any sort of definitive statement
about the psychiatric diagnosis for a single subject is not
done. |

9 Can you use PET or M. R. I. to detect an

individual who may be prone to criminal behavior?

A Not to my knowledge.

QO Have you seen any studies to that effect?

A No.

Q Now, if could you piease explain to the court any

problems or disagreements you have with Doctor Gur's report?

A Okay, I wiil break up my comments into three
components. First of all the methodology of behavioral
imaging, the report seeks to identify abnormalities in this
particular case by looking at claimed differences. However,
Doctor Gur notes all of the behavior indices are positive.
She's a smart person. So it's not a question of the
behavior imaging results being low. The point that he is
trying to make is there is a left-right difference. He
presents no evidence what is the normal left-right
difference. So it's impossible to make any interpretation
of these results without that normative information.

o For this to be reliable information would there
have to be a comparison?

A There would have to be a comparison of the

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left-right difference.

Qo That is not done here?
A That is not done. Secondly, the section on
structure M. R. I., the results that are presented and in a

common scientific format using so-called % scores, are
different from normal. Basically the results are structural
M. R. I. are less than one percent deviation away from
normal.

Q Less than one standard deviation, what does that
mean?

A Well, the best analogy I can give you of this is
to, is imagine the average American male is five foot nine
inches, the average American female is five foot,
four inches tall. These results are tantamount to taking a
woman who is five foot, seven inches, one standard deviation
away, three inches and declaring that the five foot, seven
woman is aman. One, it is very, very, difficult to argue
that that five foot, seven woman is abnormal. Over 30
percent of the population is outside that range, female
population.

Secondly, whereas we do have a profile for the
man, in the analogy there is no profile for the structural
profile of pseudocyesis or disorder or any other psychiatric
disorder. The structural M. R. I. data are unsupportable in

my view on two counts: It's not significantly far from

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normal and there is nothing that it is close to, no
psychiatric disorder it could be claimed this is close to.
Both counts IJ find this evidence to be unsupportable.

Q If you look at the Z scores could you explain
you made some notation in your report the percent of
population exhibiting such difference from normal, could you
explain that to the court?

A Okay, the results presented in Doctor Gur's report
present results for brain structural region with a Z score
of point five to point seven. Those numbers are consistent
in that range, approximately fifty percent of the population
would have Z scores of that range.

Q Would you consider that normal or abnormal?

A it is in my view within the normal range. It's
less than one standard deviation away from the mean.

9 In your view would Lisa Montgomery's brain be
within the normal range?

A. For those regions quoted here, yes. There is one

Slight difference to that, the ventricular measurements are

4 score one. A @ score one, approximately 30-percent of the
population have a Z score of one.
Q In that one area. What effect would medication

have on any of these scores?

A Medication is unlikely to affect these structural

M. R. I. scores, possibly could affect functional.

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I have yet to comment on the PET finding.

Q. I am jumping ahead. Are you finished with this
area?

A . With the structural, yes.

Q Would you move on to the PET imaging?

A On the PET imaging the basic story here is the

profile, patient profile, is significantly different from a
formative population. There are a number of issues with the
methodology of this study. Most salient, my concern is the
values for the patient are typically above normal. The

values for the normative population are around a level of

‘one for normalized data. Basically you cannot have it both

ways. Either the data for the patient are normalized in
which case they should also count around one or the patient,
normative values should also be elevated. You can't have it
both ways. Normal size means the data have to be around the
normal, around one. Her values don't.

Q What does that mean to you?

A It means I have concerns about the methodology of
the analysis here.

QO Would you consider Doctor Gur's methodology to be
scientifically reliable.

A. This particular methodology here of comparing
normalized data to a stick subject is pretty standard

methodology, not Doctor Gur's methodology particularly.

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It's a general strategy but I have concerns that methodology
is being applied incorrectiy in this particular setting.

Q. Did you in fact ask the follow-up question of
Doctor Gur to try to get clarification on that issue?

A Yes,

Did you get a response from him?

A I got a response but it wasn't a satisfactory
response, didn't address the fundamental issue how these
data are normalized, how can you compare a normative, which
is around one which it is with her values which are not, it
seems they are not normalized.

Q :- Would it be helpful to use a chart to explain what
you are saying?

A Perhaps.

MR. WHITWORTH: With the court's permission.
THE COURT: Yes.

A You have series of gray matter, the thinking part
of the brain, and other regions in white matter, the cables
in the brain, typically the gray matter metabolism in white
is low. “$0 if I want to normalize, normalize the whole
brain value, these are ten percent above, ten percent below
for the sake of argument. That is what Doctor Gur has said
he has done. So these values for gray matter are, will be
above the line of normal, that's fine. But if the

normalization is done it has to be done for both patient

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population and the normative population. So what you are
claiming is that the values for the subject --

0 Lisa Montgomery you are referring to?

A Are above normal. This is normal. This is Miss
Montgomery. And the brain is a significant difference.
What I don't understand is how if you normalize the brain
you don't have all the normative values above zero and Miss
Montgomery above zero, what he has is Miss Montgomery's
values are, the normative are hunting around zero. So you
have a situation like this. This is zero. Normative group
is doing something like this. As I would expect if you were
normalizing to zero, Miss Montgomery is sitting up here
(indicating). If she has been normalized in the same way,
her values should be also around zero, should be high in
some areas, iow in areas but the average should also be
Zero.

Qo Se do you have an opinion?

A If the average is not zero her data has not been
normalized as the normative population so I have a concern
about the methodology.

Q Do you have some explanation what you think, where
you think Doctor Gur made a mistake?

A Tt would be speculation on my part to say what I
think the reason for the value is.

You can't have it both ways. Her values are all

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high. Then she hasn't been normalized properly.

Q Her values are all high in this particular high?

A All of them.

QO Resume the witness stand. Now, do you have any,
in a summary and conclusion of Doctor Gur's report do you
have any, problem with anything he wrote there?

A Well, as a general statement, we are looking at
the scientific methodology rather than anything specific to
bring imaging. And what you have here are results which are
marginally different from normal and the claim is being made
they are consistent with a range of psychiatric disorders.

Q Such as?

A Pseudocyesis, disassociation of self, impulsivity.

None of which we have normative data. None of which is

presented here. The claim is her results are consistent
with those conditions. Those conditions are not described
in the peer-reviewed literature.

© So there is no peer-reviewed literature which
would support for instance the pseudocyesis claim by Doctor
Gur, is that correct?

A - We don't have any resuits in the fieid of it for
pseudocyesis. Had imaging in pseudocyesis to claim these
are consistent with that is not scientifically supportable.

QO Doctor Gur also concludes the patterns he noted

in defendant's brain indicate increased vulnerability to

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impulsive behavior, do you agree or disagree with that

statement?
A I disagree.
Q Why?
A Unless the results are presented this is the

profile of impulsivity and there is a significant difference
between her and that moment of profile then this is just a
speculative statement. No supporting literature.

Q Doctor Gur also writes increased hypothalmic and
related activation is potentially a source of vulnerability

to pseudocyesis, do you a agree or disagree with that

conclusion?

A Again no profile for pseudocyesis so the claim is
unsupportable.

Q So Doctor Gur also concludes the brain

abnormalities documented in the neuropsychological
and the structural and functional neuroimaging studies
provide evidence Miss Montgomery's actions have been
influenced by a compromised neural substrate. Her brain is
neither structurally nor functionally sound and the damage
is in areas that are needed for integrated behavior under
full conscious control. Do you agree or disagree with that
conclusion?

A I disagree because I think it's over

interpretation. Doesn't have the data to support those

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conclusions.

Q Would Doctor Gur's report in your opinion pass
peer review in the scientific community?

A. No.

Q Dector Gur's findings and conclusions, are they
generally accepted in the scientific community with respect
to this report?

A With respect to this report it's not in the
scientific community. Is the question would they be
accepted in the scientific community?

0 Reviewed that report?

A That would mean it didn't, it would never achieve
peer-reviewed approval.

Q One thing I don't believe I touched’back on was
the effect of medication. Did you receive some information
that defendant was taking some medication at the time these

tests were taken?

A Yes.

O - Prescribed medication?

A Yes.

0 Would that have any effect on the results?
A Yes, it's quite possible that a subject on

medications or in a heightened state of anxiety being placed
in a PET scanner would show elevated metabolism.

oO In Doctor Gur's report has he taken:the effect of

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medication into consideration anywhere in that report?

A No.
MR. WHITWORTH: That's all I have, Your Honor.
MR. DUCHARDT: May I have just a moment, Your
Honor.

THE COURT: Yes.

CROSS EXAMINATION

BY MR. DUCHARDT:

Q Good morning again, sir.
A Good morning.
Q Let me first go through your pedigree a little bit

and just make sure I am tracking correctly with everything.
You had testified your undergraduate degrees are in
mathematics and physics, correct?

A. Yes,

Q And your masters is in medical physics and your
Ph.D. is in biophysics.

A Correct.

oO Your forte in terms of your work you have done in
your lifetime is in the field of research, is that correct,
sir?

Correct.
Tt is not clinical work.

Tt's brain research.

Oo PF DO FY

And you are not trained formally specifically in

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psychology or neuro-psychology, is that correct?

A Yes.

Q And you really don't do clinical work in terms of
treatment of patients, is that true?

A Right.

Q But you have worked extensively with the
development and understanding of PET and M. R. I. testing?

A Correct.

Q Essentially PET testing, tomography, is basically
our way through using radioactive materials of being able to
see the functioning of the brain, is that a decent way of
putting it?

A Correct.

Q | And particularly in M. R. I. testing -- and it has
gotten more and more sophisticated over time but basically
it's looking at the structure of the brain?

A Correct.

Q Having the two together is actually a very
positive thing to have because you can compare structure and
function both, well, anomalies to be able to reach more
conclusions with both than you could with just one, is that
a fair statement?

A Yes.

9 You are familiar with Doctor Gur and his

background, Doctor Ruben Gur from the University of

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Pennsylvania, is that correct?
A Yes.
QO You all had thought about collaborating on a

project at one time, is that a fair statement?

A Not that I am familiar with.

9 You don't recall?

A * I'm not familiar with it.

Q Are you in your testimony questioning Doctor Gur's

capabilities and qualifications to do this sort of work?

A No, I am confining my comments specifically to the
evidence presented to me in this report.

Q Do you have an opinion about Doctor Gur's
background and capabilities and qualifications to do this

sort of work?

A He's a weil respected and well known scientist in
the field.
Q Very much doing many of the things in Pennsylvania

you are doing in Montreal.

A Yes.

Q Is that a fair statement?

A Yes.

Q , Now, and I think I understand exactly what your

positions are, but what I am trying to just tease out is the
things you are not saying. That was one of them. The other

thing I assume you are not saying that PET and M. R. I.

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testing of themselves are not scientifically reliable, they
are scientifically reliable?

A I think the distinction, I have a lot of
confidence in M. R. I. and PET testing when studying group
data. There's a difference between a group of normal and a
group of Alzheimer's population. I have more concerns PET
or M. R. I as a Giagnostic or say anything definitive about
a single subject.

Q I understand but really I am just talking about
the science behind PET and M. R. I. testing and the ability
to essentially take pictures and have something that is
reliable in order to look at to then go the next step.

E assume you agree with me on that level PET and
M. R. I. testing are universalically considered
scientifically reliable?

A Yes.

Q Particularly the PET and M. R. I. testing that was
done on Lisa Montgomery I assume you are not saying there is

any problem in the testing that was done, you are not

‘questioning that, are you?

A Depending on what you mean by testing. I have no
concerns about the initial data collection, the scanning
itself. ‘My concerns are with the analysis of the data that
was obtained from those machines.

0 So, in other words, we can agree there is really

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no question in terms of what data was gotten through the

testing itself?

A From the scanning.

QO Yes.

A The analysis is the issue.

Q If I understood your testimony correctly you are

also not questioning the mathematics that Doctor Gur
employed in terms of the type of analysis he was doing

through use of statistics, is that correct?

A I am absolutely questioning the statistical
analysis.
Q What I am saying is the method of using

statistical analysis to analyze data you are not saying

generally that is unacceptable?

A No, we all do statistical analysis of quantitative
brain data. My concerns, this is being done inappropriately
and incorrectly.

Q So we agree that PET and M. R. I. testing
generally is good science, true?

A Correct.

0 We agree that the PET and M. R. I. testing in
terms of mining data from Lisa Montgomery in this case is
okay, that is true?

A The scanning is okay.

QO And essentialiy the information, the data that was

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produced you have no problems with?

A The data itself, ne.

Q That's what I am saying. Any way I can put these
questions better you tell me, but I am just trying to make
sure we are agreed on this. Again the general notion of use

of statistics to make sense out of the data is certainly

well accepted in the scientific community, is that correct?

A in groups. There is lot of controversy about the
use of statistics applied to a single subject.

Q . And particularly that controversy is in the
research field, is that correct, sir?

A In the research world where I am familiar, if we
do not try and make an inference about a single subject the
data is too variable across the population for us to make a
definitive statement about one individual. We confine
ourselves to discussions of groups.

Q But the logic is compietely different when you are

looking in the clinical setting, is that correct, sir?

A Statistics are statistics.

Q. Agreed. Wouldn't it be a fair statement ina
research situation that you would not consider a variation
significant unless it was on the order of two standard
deviations from normal.?

A No.

Q Basically just to get out of the lingo of

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mathematics and statistics and into language everybody can

better understand, you are looking at the need for there to
be variation from an individual away from 95 percent
essentially of a normal population, is that correct?

A Yes.

Q Now, isn't it true though in a clinical setting
the numbers are way different and treatment is based
oftentimes on less than a half of a standard deviation from
normal, more like a twenty percent variation.

A I am not sure there is a difference. The point is

is the signal that is derived from the measurements is

‘significant or not. Either it is or it isn't. In this

case the results are not significant, not sufficiently
significant to warrant the kinds of interpretations and
conclusions that have been drawn in this report.

Qo Don't we normally treat people for heart disease
who show less than a half of a standard deviation from
normal in of many of their symptoms and isn't that standard
practice, or are you familiar?

A I am not familiar with how the heart is managed.
The issue for me and my competence in looking at this report

is are these claims scientifically supportable and the

“answer is no.

Qo But there is science and there is science. There

is science applied and there is science in the research

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field, is that a fair statement.
A No, just science.
o Your belief is that in the clinical field that you

would have to have, in order to justify treatment you would

have to have more than two standard deviations from normal

in order to justify treatment?

A No, I am not making a statement about treatment.
I am making a statement whether the data are interpretable
with the conclusions being made. This is not a statement
about treatment.

Q Are you disagreeing with Doctor Gur's notion that
for instance the hypothalamus in terms of its activation,
its working as measured by the PET is at least a full
standard deviation away from the normal?

A He has that resuit.

Q My question, do you disagree with that particular

nugget of information?

A For the reasons I described before about the
normalization issue, I have significant problem with
establishing how far Miss Montgomery's results from the
normative data. I explained the issue of normalization. So
I am not happy with any of these PET results the way they
are presented.

Q I wanted an opportunity to go into that so this is

a good time to talk about it. You had Doctor Gur's report.

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You asked for additional information about the methodology
which boctor Gur used in analyzing the data and he responded
to that and that was all basically last week, is that
correct?

A I had a response. The response was
unsatisfactory. It didn't get to the nub of my concern.

Q But we haven't had the opportunity to hear that
from you, at least on my side of the case, until now, is
that true?

A Correct.

QC We haven't had an opportunity to present your
further questions to Doctor Gur?

A . Correct.

Q So we don't really know what his response will be
to that until we can get that question to him. It's not

that you have asked him the question and he has refused to

answer?

A The answer was, didn't answer the question. It
was too vague. They're two issues here. One, are the
results significantly far from normal. Secondly, are those

‘results consistent with any psychiatric disorder.

The second issue is an issue independent of this
question. Even if there were two standard deviations what
are they consistent with. Where is the evidence to

demonstrate they are closer to a psychiatric profile

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pseudocyesis, et cetera.

Q TF will get to that part in a second. = wanted to

stay with this issue about the data, the statistics and

whether it is something that can be used. And if IF am
understanding your point correctly you are not confident yet
in the variaation from normal of any of the PET testing as
using Lisa's numbers versus the normal because of the
reasons you have described, is that correct?

A Correct.

Q You are not saying they are wrong you are just
saying you want additional information to decide one way or
the other, fair statement?

A Yes.

Q It's not that you have done independent work with
that to determine they are wrong, it's just you are wanting
Doctor Gur to further explain what his findings are?

A | My, the point I raise is a technical one, related
to data analysis and normalization. That is independent of
issues of a clinical nature with regard to meds,
medications, and anxiety. It's independent of whether or
not these results are consistent with any other disorder.
That's three different issues I have just raised.

0 Sure but -~ so we just need to figure out the

numbers as far as you are concerned, whether they can be

relied upon, is that a good way of putting it?

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A Correct,

QO That's our first issue. Now, even on the other
two points that you make concerning the question about
medications and PET scan and variation from normal you are
talking about, you are not saying that Doctor Gur's

conclusions are wrong, are you?

A I am saying they're scientifically unsupportable.
9 There is a difference between those two
statements, isn't there. In order to call him wrong you

would have to be able to say this is not true for this
reason?

A My position is basically with single subject data
and normal variation we see in the normal population it is
quite impossible to make a definitive statement about Miss
Montgomery's brain data with respect to normal or abnormal.

Q And particularly now let me also make sure I
understand, you did not study any of the information about

Lisa Montgomery beyond the information provided in Doctor

‘Gur's report, is that correct?

A I was also given reports from Doctor Ramachandran
and Doctor Logan.

Q ' You are familiar with Doctor Ramachandran and
Doctor Logan's diagnosis of pseudocyesis, is that correct?

A I read those reports.

Q. Just for the court reporter's help, pseudocyesis,

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“you want me to spell it, p-s~e~-u-d-o-c-y-e-s-i-s. Did I do

it right from memory?

A Yes, you did.

Q - Is this a condition you personally have ever
studied.

A No.

Q Do you feel you are in a position, based upon the

review of the reports of Doctor Ramachandran and Doctor
Logan who diagnosed Lisa as suffering from pseudocyesis, do
you feel you are in a position to be able to confirm or deny
those positions?

A Io am not in a position to make any comment on
clinical diagnosis. My comments are strictly to imaging
methodology.

QO . But you are familiar with the generalities of
pseudocyesis from your education, that essentially that is a
psychiatric condition whereby a person, obviously a woman,
is in a position she believes she's pregnant to the point
she actually has physical changes that are associated with
that, is that correct, sir?

A That's what I read.

Q And you also understand that Doctor Ramachandran

and Doctor Logan have aiso reached certain conclusions about

other mental issues Lisa is suffering from, is that correct?

A That's what I read.

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oO So Doctor Gur is not starting from a base line of
no information about the particular subject he actually has
some information from other sources, is that correct, sir?

A Yes.

9 And I know the answer to that and it's a silly

question but for the record you have never met Lisa, is that

correct?
A No.
Q You have never had an opportunity to talk with her

or examine her or deal with her in any fashion that would
assist you in reaching any of the conclusions you are going
to be asked to reach, is that correct, sir?

A Correct.

QO. You have not read any of the materials other than
contained in Doctor Logan and Doctor Ramachandran's report
about this incident we are on trial for here?

A Correct.

Qo Okay, sir. So to the extent that Doctor, you
understand in reading Doctor Gur's report he has reviewed
ail of that information, is that correct, sir?

A Yes.

0 At least in that respect he has that much of a
leg-up on you, would you acknowledge that?

A No, not at aii. Quite the opposite. My comments

are based on the facts presented to me in the report. It's

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quite possible to make the assertion based on knowledge of
the case, the results you see from imaging are consistent
with that prior clinical profile. It would be much more
piausible I believe if he had knowledge of the situation and
able to make a statement these results are consistent with
pseudocyesis not knowing the case. The fact he knows the
case beforehand would suggest to me he's drawing the obvious
interpretation that is required.

0 So, in other words, and again in the research
setting I see that might make some sense but if you are ina
clinical setting you certainly want all of that data in
order to be able to treat properly, isn't that essential?

A: Again, what one does with treatment isn't
independent from characterizing are these brain data
consistent with any specific disorder. You have to answer
that question first and that hasn't risen to the level of
scientific peer-reviewed approval.

QO Again are there uses of scientific data in the
clinical setting that reach, do not reach the level of two
standard deviations that are relied upon to support
diagnoses otherwise obtained from other sources?

A Well, that would go into the issue of clinical
judgment again. That is not a scientific position. The
data do not support the statements being made in this report

based on the evidence presented in this report, end of

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story.

QO I understand that's your position. Is it entirely
possible, if not probable, that treating physicians might
disagree with you?

A I have been asked to comment on the’ scientific
validity of the data and I have done that.

Q You have no comment though on whether there might
be an honest disagreement with you, among scientists about
whether it requires two standard deviations away from normal
or more like a half a standard deviation away from normal
when you are dealing with treatment in a clinical setting?

A I am sorry, the scientific method is the
scientific method. It's scientific, true and significant
and justifiable or not. This is not.

Q Now, particularly again your questioning of Dector
Gur has to do with his, well, let me ask it this way, In
Doctor Gur's report did he specifically diagnose
pseudocyesis?

A He said 1t was not inconsistent it was consistent,
excuse me. Let me repnrase that. He said it was consistent
with --

Q Do you want the report?

A Consistent with impulsivity, disassociation of
self, high up-take, vulnerability, the potential for

pseudocyesis, all of these things are true, they're all

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possible but so is it being consistent with the brain of a

lawyer.

Q So to a lawyer instead of doctor.

A There is no absolute connection here. [t's
speculative.

Q You mentioned increased metabolism in the

hypothalamus and that also appears in your report. Let me
show you Doctor Gur's report. And basically actually when
he is talking about the increased and we are on page --

A Summary and Conclusions. |

QO °- Yes.

MR. WHITWORTH: Which page.
MR. DUCHARDT: Four.

Q This is the copy of the revised report.

I didn't ask if it was all right to approach the
witness. Is it okay.
THE COURT: Yes.

Q Basically isn't it true that Doctor Gur is talking
about increased activation not in the thalamus but in the
hypothalamus?

A. The hypothalamus is potentially a source of
vulnerability to disorders.

0 Right. You had mentioned in your testimony and
also in your report you had taiked about increase in

activation of the thalamus, it's not the thalamus, it's the

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hypothalamus?
A, Hypothalamus is right underneath the thalamus.
QO I understand but they do different things, is

that correct?

A Yes.

Qa And you are familiar with animal studies
indicating increased activation of the hypothalamus related
£0 pseudccyesis?

A I am not familiar with animal studies.

Q What you are asking for is you are saying the only
way to associate increased activation of the hypothalamus --
and I am saying it right.

A Yes.

Q The only way to associate increased activation of
the hypothalamus with pseudecyesis if we have a woman in
with pseudocyesis, create a data base and be able to show
that, is that correct, sir?

A Yes.

QO In other words, by your standards we would never
take products off the market because animal studies can't be
used on to rely for potential dangers to human beings?

A The normal practice throughout pharmaceutical
development is to do animal studies first and then to do
studies, phase one studies in humans. You have to establish

the same behavior takes place in humans as animals.

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They're major difference in physiology between humans and
animals. We have to start somewhere so we start from
animals. But we can't go from animal study to clinical
practice. There are years of assessment in clinical trials
in humans before that case is reached.

QO Of course if we reach the thing is so bad in
animals we are not even going to try on humans, is that a
fair statement?

A ~ No, you have to try on humans.

QO Even if the results on animals are totally
negative we would still try on humans?

A That's, if the results in animals don't show any
effect then why would you go to humans?

Q Exactly. if the resuits are very negative in
animais then why would you go to humans, true?

A If the results are negative then you wouldn't go
to humans. If the results are positive then you go to
humans before you start disseminating in the general
population. |

Q °« Exactly, but we do utilize animal studies to
justify all of this just because even though they're
certainly differences between animals and humans they're
very many Similarities and mechanisms. And that's the
reason why these animal studies are so important? |

A. We’ have to start somewhere but we have to do every

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phase before we can bring it to human clinical use.

Q °- Again I take it you are not familiar with the
animal studies that show increased hypothalamus activity
with pseudocyesis in the laboratory?

A No.

Q Assuming that I am describing the literature
correctly wotld that make a difference to your position?

A Tne same story, the same position is it hasn't
been demonstrated in humans. We haven't had any evidence
presented here of human PET profiles of pseudocyesis so you
can't make any claims about human PET profiles.

9 so you do not -- of course what you have
acknowledged that Doctor Gur is not diagnosing pseudocyesis,
he is saying that these findings are consistent with
pseudocyesis, fair statement?

A He said they're consistent but the data is so
vague in general to be consistent with a multiplicity of
brain profiles so it is not particularly relevant or
important to say it's consistent with pseudocyesis. It's
consistent with many, many, many things.

QO. We are concentrating right now on the
hypothalamus. We are not talking about other areas of the
brain. Particularly you had mentioned that drugs that Ms.
Montgomery took, psycho-active drugs she would have been

taking for her condition at the time of the PET may have

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impacted upon the PET result. I think that was essentially
your testimony.

A That's not my testimony. That's the testimony of
Doctor Gur -- Doctor Mayberg. I am not a clinician and I
haven't made any statement to that effect in my report.

Q Doctor, particularly Doctor Helen Mayberg is
another one of the government's experts in this case, is
that correct?

A Right.

0 You had shared with her your report, is that
correct, sir?

A Correct.

Q And you are not independently saying you are aware
of any studies that would indicate that there would be any
impact on medicines that Lisa Montgomery was taking in terms
of any of the PET results explaining those, right?

A No, EF am familiar with studies myself of where
meds or psychological scanners affect PET results. You have

asked me, in my report I made no mention of that issue.

Q Particularly were those results directed to the
hypothalamus.

A Not particularly.

QO And were the drugs that were involved in those

studies, were they the same drugs that were involved, that

Lisa Montgomery is currently taking, Depakote, are you aware

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of the medications that Lisa Montgomery was taking at the
time of this examination?

A No, I am not.

Q Do you have available to you the study, can you
get those you are relying on in making this point that her
changes in the PET could be attributed to medications or
just being in the scanner?

A I can get access to those.

Qo And particularly did Doctor Mayberg provide to you
any particular articles to that effect? |

A - No, she did not.

Q So what your testimony is is that even though
there are, well, we start first with you are not sure that
there are differences in the PET results, elevation in Lisa

Montgomery's PET levels that are scientifically reliable

because you want the answers to these questions first

(pointing to chart ), am I saying that right?
A That's one of the issues.
Q I am going through the three. The second question

is whether there could be an explanation for those results
other than the ones that Doctor Gur attributes and
particularly whether the explanation if they're increased
levels of activity that are shown, whether those are
attributable to medicines or being in a PET scanner, that's

a second question?

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A Correct.

Q Any other issue you think should have been tested
for and wasn't?

A As I said the third one is the statement these
results are consistent with a specific disorder, where are
the measurements and the references to those conditions
which is being associated with. The report doesn't provide
any of that.

Qo What I was just trying to make sure of on this
second issue about whether there is something else involved
in the changes, is there anything else that you would
speculate should have been checked but wasn't other than
being in the scanner and being on certain medications, any
other issue besides those two. Those are the oniy two I saw
an your report.

A No, that's it.

Q The third issue, and you have already described
it, is the whole question of can you reaily make any
reliable scientific sense out of this data unless you had a
normai population base to judge in terms, basically a pseudo
scientific base to compare against that?

A Correct.

9 Isn't it a fair statement that certain areas of
the brain for a long time have been associated with certain

types of behavior?

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A Yes, I think you could make those statements.

Q And particularly isn't Doctor Gur just indicating
that those areas that are involved and are highlighted by
Lisa's PET results are those areas that are normally
associated with this type of issue, this type of psychiatric
issue?

A. No, I think I have made my position clear, they
are consistent with many sorts of disorders and states.

QO : All of them?

A So I am comfortable with the statement these
resuits are, quote, not inconsistent with those disorders
but there is no causal connection. That is what I have a
problem with, there is no relationship here that has been
demonstrated. It's possibly, it's maybe -- it's totally
speculation as far as I can see,

Q That gets back to my original question which is
you are not saying Dector Gur is wrong, you are just saying
you don't think his numbers justify diagnosing pseudocyesis
or these cther post traumatic stress disorders or any of

these other things through the use of the PET alone?

A The data, the case is not being made
scientifically at all. It would never pass peer review.
Q Again in a research setting but you are not able

to say in a clinical --

A No. difference between, science is science.

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Significance is significance. Either these results are
consistent with pseudocyesis or they are not. They are not.
There is no evidence to prove it is.

Q Now, and you are saying this different ways and I
just want to make sure I am tracking with you. You are
saying the data is inconsistent with pseudocyesis?

A. No, the statements that can be made they are not
inconsistent. That is a million miles scientifically from
the statement they are consistent with. That's a very, very
weak statement. It could be consistent with anything. That
doesn't mean it's consistent.

Q So you are saying that increased activation of the
hypothalamus could be consistent with anything?

A Many, many, states of the brain, both normal and
pathological. To characterize the PET profile of
pseudocyesis is a lot more than saying there is a little bit
of elevation in the hypothalamus.

Q And you consider that one standard deviation above
normal, assuming your argument here can be addressed you
think, you believe that is just a little variation.

A In my report I said one standard deviation would
never be acceptable scientifically.

Q Scientifically. Let me ask you you had indicated
in terms of the M. R. I. results and do you have any

problems with Doctor Gur's analysis with the M. R. I.

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results, statistically?

A The results as presented, the data, what he shows
is standard deviations point five to point seven in areas he
draws inference. That is no way near meeting the level of
scientific proof.

oO And essentialiy the significance that Doctor Gur
found, would you agree with me, is that while Lisa's total
brain volume is not above normal her ventricular volume, at

least the standard deviation, is above normal, is that

correct?
A it's presented here as one standard deviation.
Q You in your report indicate, if you look at those

two results in isolation, they don't mean anything?

A The two results being?

OQ The two results of normal brain volume and the
increased ventricular volume?

A And the question is.

Q . The question is you don't believe there is any
significance looking at those individual results?

A No, I don't.

QO Just so we all understand each other, ventricular
volume is essentially the space inside the brain?

A Fluid space in the brain.

OD Essentially that's not organ, that's not fluid

space, it's an indication of space in the brain as opposed

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to working brain volume?

A Correct.

Q And now did you look and what you said was that
one of the issues that you take exception with Doctor Gur is
his finding that actually there is more significance to the
increased brain ventricular volume than would meet the eye.
Essentially saying that is actually a more significant
result than would be indicated by the one standard
deviation?

A No, I think we are at cross purposes here.
Basically what he has presented in the figure, figure two,
is a number of brain structural regions have significant
values of point five to point seven. The ventricles are at
one. So mathematically the ventricles are a little more
abnormal than the brain regions. However, his
interpretation is based on brain regions. Reduced volume of
the right parietal and medial regions is consistent with the
results of the neuropsychological testing. Right parietal
dysfunction manifests itself behaviorally in loss of sense
of self, difficulties in emotion processing, attentional
neglect, and depressed or flat affect.

The point here is that all of those statements are
made with respect to the point five to point seven level of
significance. Nothing to do with the ventricles. Don't

Giscuss the ventricles further.

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G But if you associate normal brain volume with the
ancreased level of ventricule volume does that not indicate
a reduction of the remainder of the brain?

A I see your question. Again you are coming back to
the issué® of are these brain sizes, brain volumes outside
the normal range of those structures in the normal
population and he has quoted them as point five to point
seven. That's all you need to know.

9 In particular again you are looking at differences
in each of these categories as opposed to looking at the
possibility of whether you combine certain categories, for
example, someone like Lisa having a normal brain volume but
increased in ventricular volume and the significance of that
versus someone who may very well have a greater brain volume
and increase, greater than normal brain volume and increase
in ventricular volume which may very well not indicate a
reduction of size of the particular areas of the brain -- am
I tracking, are you tracking my question?

A Well, I see where you are trying to go and I can
only come back to his own data. He quotes her level of
abnormality in these brain structures about point five to
point seven. That is a very low significance. I am telling
you that is a very low significance. This is well within
the normal range.

0 But again, and I belabor the point one last time,

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you do not believe there would be a difference in terms of

looking at standard deviations when you are looking at a

situation versus a research situation?
I am not going to comment on treatment.
Very well. Doctor Evans, Doctor Gur actually many

in a science article did some of the early

research on this, on this area and actually built the data

base upon which he relies and published about .that, is that

Yes.

Have you actually read that science article?
Yes, I have.

You are familiar with it?

Yes.

Neurological deviation.

THE COURT: I am ready to take a lunch break if

you want to review your notes and see if you have any

further questions when you come back.

MR. DUCHARDT: That will be great.

THE COURT: We will be in recess until five

minutes after one by the clock.

MR. DUCHARDT: Very good. Thanks.
RECESS
THE COURT: Thank you. You can be seated.

Doctor Evans, would you come back up to the witness stand

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and as you come back up I will remind you you are still
under oath. And, Mr. Duchardt, do you have some more
questions of Doctor Evans?

MR. DUCHARDT: Just a couple.

QO Good afternoon, sir, because we are going to have
Doctor Gur here next week I want to make sure I get clear
the probiems so that I can relay it to him so that he can
address the question that you had. And back-tracking to the
question that had been posed of Doctor Gur if basically I
had asked the question, if I understand it, regarding the
normalization method and you indicated in the figure in his
report the blue curve for Lisa is all above the unity limit.
if CMRG is normalized by dividing by the whole brain mean

for the brain matter R. 0. I, that's regions of interest,

vight?
A Yes.
Q Then shouldn't the line be distributed about the

unity line. That's basically what your question, the issue
raised in your testimony, am I tracking right?

A I will have another try to clarify it. Basically
you have to choose whether you normalize against a whole
brain average or the average of just the brain region. You
can do either one, but you have to do it the same way for
both the normative population and Miss Montgomery, has to be

done the. same way in both cases. Either they are both

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supposed to be hunting around one or both to be elevated.
You can't have them separated.

0 You are not sure if he did that or not?

A That is right. I asked for a clarification and I
didn't get it.

QO The answer that Doctor Gur made to your question
was regarding the method for calculating the r/wh. These
were the regional values in the R. 0. I.s, the regions of
interest, as shown in my last response divided by the whole
brain-metabolic rates all in milliliters per hundred grams
per min. Since these are punch biopsy by regions, mostly
in GM, it is not unusual to see many or all above unity?

A. I would expect that would have to apply to both
Lisa's results and normative data, sir.

Q And if that is the case, if he has done that
already, then that answers your question?

A I need tc know that he has done the normalization
the same way for both sets of data and what exactly is that
methodology. I didn't get an answer to what exactly did he
do.

Q And that's the additional above and beyond what
Dr. Gur has already said?

A IT asked that question. But his answer didn't
answer that question.

Q So that's the specific question that you need

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answered?

A How come these curves behave differently. As I
said on the board there, if the normal values are
oscillating around about one that means you are normalizing
just in the gray matter regions and your matter should be
oscillating one, if they're high values there should be low
in others so it all averages to about one.

Q In other words, you are expecting a certain result
and you are not getting it?

A. It's basic methodology. It's not imaging per se.
Just basic statistics and analysis.

Q What you are looking for is an explanation to that
particular question?

A If you would like, I would like to have a proper
mathematical explanation rather than textural description.

TF need to know exactly what has happened there.

Q You don't feel you have that yet?

A No, I don't.

Q Now, one last couple of questions and that
concerns the areas of the brain that are showing the
differences normal both in the M. R. I. and the PET. Now
Doctor Gur associates those areas of the brain with
particular types of cognition, is that a fair statement?

A Yes.

Q And isn't it a fair statement that the association

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of those areas of the brain with that type of cognition is
really textbook neurology and what we expect those brain
areas to do?

A I think the way to summarize it, the temporal
structures in the brain he refers to are generally known to
be associated with what we call the emotional brain,
emotional intelligence, emotional processing. So ali of
that is true as a general statement.

Q So to the extent you have those areas compromised
you wouldn't disagree that way may very well have
Significance to those particular functions?

A It's possible. These measurements are measuring
something calied global metabolism, energy, it's not talking
about specific reception, receptive transmissions,
particular chemicals associated with chemicals. That would
be potentially much more informative. This 4s generally
nuts and. bolts. It can go up and down. It really doesn't
allow you to infer dysfunction if it's up or down.

Q What you essentially have is you could say up take
in those particular areas of the brain whether it is
increased or decreased as compared to normal, right?

A We have had this discussion about whether or not
it is different but if you assume for a second it is in fact
different you then are not entitled to explain what is going

on there unless you have much more definitive information

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than is presented here. Way too general.

Q All T am trying to do is make sure -- we are
obviously on different pages for Doctor Gur's interpretation
of the data. What I am trying to make sure of where we are
on the same page in terms of what things do and what
science, what things we can agree on and that's what I tried
to do.

A You can agree those regions are involved in
emotional processing, et cetera in general. We know that in
studies other than from aging.

Q. And the last question that I am realiy just
wanting to make sure, see if we can get agreement on, has to
do with the general notion of PET testing, particularly what
the PET testing can do is show either increased or decreased
or normal utilization of glucose in those particularized
areas of the brain as opposed to a normal --

A You can make measurement in an individual and you
can compare that individual to the normal range which is
what has been done here.

OQ And basically that in terms of the data base that
Doctor Gur is using you are not arguing with the validity
with the data base?

A Not arguing with the validity of the data base. I
am concerned the way the data base is being used to

interpret Miss Montgomery's PET data.

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Q What you are really looking for some answers from
Doctor Gur. Now we have clarified the question I will get
those to him and we will see if we can get those answers for
you. Thank you, sir. That's all I have, Judge.

MR. WHITWORTH: We have no further questions,
Your Honor.

THE COURT: Thank you, Doctor Allen.

 

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CERTIFICATE

I certify that the foregoing is a correct
transcript from the record of proceedings in the above-

cs entitled matter. ; 7
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Flizabeth Shinn
U.S. Court Reporter

 

 

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